628 F.2d 1350
    Robinsonv.Salmon
    80-8180
    UNITED STATES COURT OF APPEALS Fourth Circuit
    7/30/80
    
      1
      E.D.N.C.
    
    CPC DENIED; DISMISSED
    
      2
      (The decision of the Court is referenced in a 'Table of Decisions Without Reported Opinions' appearing in the Federal Reporter. The Fourth Circuit provides by rule that an opinion will not be published unless it meets specific criteria, and further provides that citation of unpublished dispositions is 'disfavored.' Fourth Circuit Rules, I.O.P. 36.4, 36.6, 28 U.S.C.A.)
    
    